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 6                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WASHINGTON
 7
      UNITED STATES OF AMERICA,
 8
                       Plaintiff,              NO. CR-05-2075-7-EFS
 9
                 v.
10                                             ORDER DENYING GOVERNMENT’S
      ALICE ESPINOZA (7),                      MOTION TO RECONSIDER
11                                             SUPPRESSION OF EVIDENCE
                       Defendant.
12

13
          On August 26, 2005, the Court entered an Order Granting Defendant’s
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     Motion to Suppress (Ct. Rec. 630).          Thereafter, on September 26, 2005,
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     the Government filed a Motion to Reconsider Suppression of Evidence (Ct.
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     Rec. 723), to which Defendant responded (Ct. Rec. 776); the government
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     then replied (Ct. Rec. 783).           Upon review, the Court concludes its
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     previous Order was correct and denies the Government’s reconsideration
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     motion.
20
          The beginning point in the analysis of this search and seizure is
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     the Fourth Amendment. The Court recites the Amendment for emphasis:
22
          The right of the people to be secure in their persons,
23        houses, papers, and effects, against unreasonable searches
          and seizures, shall not be violated, and no Warrants shall
24        issue, but upon probable cause, supported by Oath or
          affirmation, and particularly describing the place to be
25        searched, and the persons or things to be seized.

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 1   U.S. CONST. amend. IV.          This “marks the right of privacy as one of the

 2   unique values of our civilization and with few exceptions, stays the hand

 3   of the police unless they have a search warrant issued by a magistrate

 4   on probable cause supported by oath or affirmation.”                McDonald v. Untied

 5   States, 335 U.S. 451, 453 (1948).                  The Founders’ insistence upon

 6   requiring a warrant be issued based upon probable cause was rooted in

 7   their belief that “[p]ower is a heady thing; and history shows that the

 8   police acting on their own cannot be trusted.”                    McDonald v. United

 9   States,    335   U.S.    451,    456   (1948).      Accordingly,      interjecting   “a

10   magistrate between the citizen and the police . . . so that an objective

11   mind might weigh the need to invade that privacy in order to enforce the

12   law” is a major function served by the issuance of a search warrant.                 Id.

13   at 455-56.       Furthermore, “an essential function of the warrant is to

14   ‘assure [ ] the individual whose property is searched or seized of the

15   lawful authority of the executing officer, his need to search, and the

16   limits of his power to search.’”          United States v. Gantt, 194 F.3d 987,

17   990 (9th Cir. 1999) (quoting United States v. Chadwick, 433 U.S. 1, 9

18   (1977), abrogated on other grounds by California v. Acevedo, 500 U.S. 565

19   (1991)).

20        A warrant issued under 18 U.S.C. § 3103a, a provision of the Patriot

21   Act, may serve all of these functions, albeit with some delay, given that

22   a § 3103a application is reviewed by a neutral detached magistrate;

23   however, notice of the search is not given until after the search and

24   seizure occurs.      18 U.S.C. § 3103a(b)(3).             Even though notice is not

25   given until a reasonable period after the search, id., a valid § 3103a

26   search is likely constitutional given that the Supreme Court has ruled


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 1   “the Fourth Amendment does not prohibit all surreptitious entries.”

 2   United States v. Frietas, 800 F.2d 1451, 1456 (9th Cir. 1986) (citing

 3   Dalia v. United States, 441 U.S. 238, 247 (1979)).                    Yet, the Ninth

 4   Circuit recognized:

 5        surreptitious searches and seizures of intangibles strike at
          the very heart of the interests protected by the Fourth
 6        Amendment. The mere thought of strangers walking through and
          visually examining the center of our privacy interest, our
 7        home, arouses our passion for freedom as does nothing else.
          That passion, the true source of the Fourth Amendment demands
 8        that surreptitious entries be closely circumscribed.

 9   Id. at 1456.     Accordingly, because an individual has a privacy interest

10   in their home and items contained therein and because the subject of a

11   § 3103a warrant will not be given notice of an invasion of her home and

12   lawful seizure of personal property by police for a period of time

13   following thereafter, the Court finds it essential that an “‘objective

14   mind’ of a neutral magistrate . . . weigh the need to invade that privacy

15   in order to enforce the law.”       Gantt, 194 F.3d at 991 (quoting McDonald,

16   335 U.S. at 455).        Therefore, the Court finds it is necessary for a §

17   3103a warrant to strictly comply with the requirements of that section.1

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19            Section 3103a(b) states in its entirety:

20        Delay.–With respect to the issuance of any warrant or court
          order under this section, or any other rule of law, to search
21        for and seize any property or material that constitutes
          evidence of a criminal offense in violation of the laws of the
22        United States, any notice required, or that may be required,
          to be given may be delayed if–
23             (1) the court finds reasonable cause to believe that
          providing immediate notification of the execution of the
24        warrant may have an adverse result (as defined in section
          2705);
25
               (2) the warrant prohibits the seizure of any tangible
26        property, any wire or electronic communication (as defined in
          section 2510), or, except as expressly provided in chapter 121,

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 1   The facts of this case, detailed here after, emphasize the dangerous

 2   consequences to those whose homes are searched and property seized

 3   surreptitiously without contemporaneous notice of the execution of a

 4   §3103a warrant.

 5        The express requirements of 18 U.S.C. § 3103a require the issuing

 6   court to find, when issuing a delayed notice search warrant, “reasonable

 7   cause to believe that providing immediate notification of the execution

 8   of the warrant may have an adverse result,” 18 U.S.C. § 3103a(b)(1), and

 9   in order to allow seizure of tangible property, to find “reasonable

10   necessity for the seizure,” Id. § 3103a(b)(2).             Section 3103a(b)(3) also

11   requires the warrant itself to “provide[ ] for the giving of such notice

12   within a reasonable period of its execution.”              Id. § 3103a(b)(3).

13        Here, the issuing court did not include such findings on the search

14   warrant nor in any contemporaneously issued sealed order. The Government

15   argues the issuing court need not put such findings explicitly on the

16   warrant. Perhaps not, but absent the insertion on the warrant itself or

17   in a contemporaneously issued sealed order of the statutorily required

18   findings by the magistrate, arguments over the meaning of conflicting

19   language    in   the   search   warrant   will    persist    with   the   unnecessary

20   development of strained precedent as courts speculate on the magistrate’s

21   thought process and decision. While the Court agrees § 3103a(b) does not

22   explicitly require the issuing court to insert the statutory findings on

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24        any stored wire or electronic information, except where the
          court finds reasonable necessity for the seizure; and
25
               (3) the warrant provides for the giving of such notice
26        within a reasonable period of its execution, which period may
          thereafter be extended by the court for good cause shown.

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 1   the warrant itself, based on the polices and purposes of the Fourth

 2   Amendment warrant requirement, see United States v. Freitas I, 800 F.2d

 3   at 1456; McDonald v. United States, 335 U.S. 451, 456 (1948), the Court

 4   finds a bright-line rule requiring an issuing court to expressly make

 5   such       findings   is    necessary,     either      by    explicitly    adopting    and

 6   incorporating the affidavit’s conclusions for the necessity for a §

 7   3103a(b) warrant in a written order accompanying the warrant or on the

 8   warrant itself.2           Here, because the issuing court did not make such

 9   findings in either an order or on the warrant, this Court must guess at

10   what was actually intended, an unacceptable course when it involves the

11   rights guaranteed under the Fourth Amendment.

12          The imposition of an explicit 3103a(b) finding on the issuing court

13   is supported by a comparison to the procedures utilized when an order is

14   issued authorizing a wiretap under 18 U.S.C. § 2518.                      Section 2518(3)

15   requires the court to issue an order authorizing a wiretap; however, §

16   2518(3) does not specifically state that such an order must contain the

17   statutory findings to be made by the court in order to authorize a

18   wiretap.      However, the Supreme Court in Dalia v. United States, 441 U.S.

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20          2
                For example, the entry of such findings could be as simple as the
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     use of a box that could be checked by the issuing court if it “[found]
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     reasonable cause to believe that providing immediate notification of the
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     execution of the warrant may have an adverse result.” This would clearly
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     indicate to the reviewing court whether the issuing court found delayed
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26   notice under 18 U.S.C. § 3103a was appropriate, and the issuing court

     would not need to speculate.
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 1   238 (1979), stated “[t]he plain effect of the detailed restrictions of

 2   § 2518 is to guarantee that wiretapping or bugging occurs only when there

 3   is a genuine need for it and only to the extent that it is needed.”                441

 4   U.S. at 250.    In order to determine whether “the detailed [statutory]

 5   restrictions” were considered by the issuing court, this Court infers the

 6   Supreme Court requires such statutory findings to be placed in the order;

 7   this inference is bolstered by the fact the order authorizing the wiretap

 8   in Dalia, like the wiretap orders authorized in this case (see, e.g., Ct.

 9   Rec. 710 Att. 2 at 96-100), specifically set forth the findings required

10   by § 2518(3).    Likewise, in the context of a delayed notice search and

11   seizure   warrant   under   18   U.S.C.    §   3103a,    with   arguably   a   greater

12   infringement upon Fourth Amendment rights than a § 2518 wiretap, it is

13   just as important to ensure the issuing court determined after reviewing

14   the application that reasonable cause exists to believe that providing

15   immediate notification of the warrant would have an adverse result.

16   Accordingly, in order to ensure Fourth Amendment privileges are protected

17   and infringements on such are able to be closely scrutinized, the Court

18   finds the Fourth Amendment requires the issuing court to specify in

19   writing that it made the determinations required by § 3103a(b).

20        Section 3103a(b)(3) explicitly requires “the warrant provide [ ] for

21   the giving of such notice within a reasonable period of its execution,

22   . . . .” 18 U.S.C. § 3103a(b)(3).               Here, rather than set a date,

23   following a reasonable period, for notice, the warrant actually required

24   leaving a copy of the warrant at the site.              Accordingly, not only does

25   the warrant not contain findings required by § 3103a(b), but the warrant

26   actually called for immediate notice.               Therefore, on its face, the


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 1   warrant failed to comply with § 3103a(b)(3) and must be treated as a

 2   standard warrant issued under 18 U.S.C. § 3102 and Federal Rule of Civil

 3   Procedure 41.

 4        In addition, as noted above, the search warrant, at best, was

 5   inconsistent in terms of whether it was a § 3103a warrant or standard

 6   Rule 41 warrant, a copy of which must be provided at the time of the

 7   search, FEDN. R. CIV. P. 41(f)(3). The Government maintains the “SEAL”

 8   stamp and the notations that the search warrant could be executed “any

 9   time in the day or night as I find reasonable cause has been established”

10   indicate the warrant was a § 3103a warrant.              (Ct. Rec. 482-2.)     However,

11   the warrant also contained standard Rule 41 search warrant language: the

12   agents should “search . . . the place named above for the . . . property

13   specified, serving this warrant and making the search, . . . if property

14   be found there to seize same, leaving a copy of this warrant and receipt

15   for the person or property taken.” Id. (emphasis added). The warrant did

16   not make a reference to 18 U.S.C. § 3103a or reference Agent Schrock’s

17   assertions regarding the necessity of a § 3103a search. Id.                  In light of

18   these inconsistencies, even under a liberal reading of the issuing

19   court’s requirements under § 3103a, the Court concludes the “SEAL” stamp

20   and “reasonable cause” language indicate the search warrant was not

21   issued under § 3103a.

22        The Government presents a declaration from Agent Schrock stating he

23   had a telephone conversation with the issuing court and was told the

24   warrant   was   a   §    3103a   warrant.       That     effort   by   the   government

25   demonstrates the very reason for a bright-line rule requiring the issuing

26   court to make the necessary § 3103a(b) findings explicitly as outlined


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 1   above.    The essential requirement of the Fourth Amendment to make a

 2   search reasonable, with few and what should be rare exceptions, is the

 3   neutral and detached objective determination by the issuing court, not

 4   the recollection of the law enforcement officer.               Determining whether a

 5   § 3103a(b) warrant was properly issued must be based on a review of the

 6   relevant documents in existence at the time the search warrant was

 7   issued.     Had   there   been   either    incorporation       and   adoption   of   the

 8   applicant’s recitation of the statutory bases or the magistrate’s own

 9   compliant statutory finding in the warrant itself or in sealed companion

10   order, then the Court could properly engage in a determination of

11   “clerical error” but not on these facts or this warrant.

12        The Government then argues, even if the warrant failed to comply

13   with § 3103a, the evidence should not be suppressed because the search

14   falls within the good faith exception to the exclusionary rule enunciated

15   in United States v. Leon, 468 U.S. 897 (1984).              The Court finds the Leon

16   good faith exception inapplicable. In Leon, the Supreme Court explained,

17        It is the magistrate’s responsibility to determine whether the
          officer’s allegations establish probable cause, and if so, to
18        issue a warrant comporting in form with the requirements of the
          Fourth Amendment. In the ordinary case, an officer cannot be
19        expected   to   question   the   magistrate’s    probable-cause
          determination or his judgment that the form of the warrant is
20        technically sufficient.

21   Id. at 920.       The Supreme Court reached the conclusion that evidence

22   should not be excluded simply because an executed search warrant was

23   later found to lack probable cause in part because exclusion would not

24   have a deterrent effect on improper law enforcement behavior.                Id.     Yet,

25   the Supreme Court also highlighted its “discussion of the deterrent

26   effect of excluding evidence obtained in reasonable reliance on a


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 1   subsequently invalided warrant assumes, of course, that the officers

 2   properly executed the warrant and searched only those places and for

 3   those objects that it was reasonable to believe were covered by the

 4   warrant.”    Id. at 918 n.19.          Accordingly, the key question here is

 5   whether the officers, when in good faith relying on the form of the

 6   warrant, could reasonably believe the warrant was a § 3103a(b) warrant

 7   authorizing a “sneak and seize” search.

 8        Based on the warrant’s inconsistencies, i.e. “SEAL” stamp, allowance

 9   of night time search, requirement of notice at time of search, and lack

10   of 18 U.S.C. § 3103a(b) language, the Court finds the officers executing

11   the warrant could not in good faith believe the warrant allowed delayed

12   notice.     When a search warrant, desired by law enforcement to be a

13   delayed notice warrant pursuant to § 3103a, calls for notice upon

14   execution of the search, the Court finds law enforcement cannot blindly

15   assume notice at the time of the search is not called for; rather, a

16   reasonable law enforcement officer would seek an amended search warrant,

17   if the issuing court finds a § 3103a warrant is in fact appropriate.

18   Given the in-depth investigation of the alleged Rivera drug trafficking

19   organization and law enforcement’s interest in keeping such secret, the

20   Court finds the officers more than likely would not have conducted the

21   search if instantaneous notice was required. See United States v. Johns,

22   851 F.3d 1131, 1135 n.5 (9th Cir. 1988) Therefore, the Court finds

23   exclusion is an appropriate sanction given that a reasonable officer

24   would have questioned whether the court had issued a § 3103a warrant.

25   See Leon, 468 U.S. 906-07.

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 1           Even if the officers in good faith believed the warrant was a §

 2   3103a warrant allowing for delayed notice, the Court finds the Leon good

 3   faith    exception   does   not   apply.       The      Supreme   Court   listed    four

 4   circumstances in which the good faith exception will not apply: (1) when

 5   the magistrate was mislead by information in the affidavit the affiant

 6   knew or should have known was false, (2) when the magistrate wholly

 7   abandoned his judicial role, (3) when the affidavit so lacked indicia of

 8   probable causes to render official belief in its existence entirely

 9   unreasonable, and (4) when the warrant is so facially deficient, i.e. in

10   failing to particularize the place to be searched or the things to be

11   seized, the executing officers cannot reasonable presume it to be valid.

12   Id. at 923; United States v. Johns, 948 F.2d 599, 604-05 (9th Cir. 1991).

13   The first three listed exceptions do not apply here; however, the fourth

14   does.    The warrant’s inconsistencies discussed above, i.e. “SEAL” stamp,

15   allowance of night time search, requirement of notice at time of search,

16   and lack of 18 U.S.C. § 3103a(b) language, causes the warrant to be

17   facially deficient for purposes of § 3103a.

18           Furthermore, the Court finds exclusion is required to help deter

19   conduct engaged in by the officers conducting this search.                The officers

20   left a California license plate in order to divert any suspicion from law

21   enforcement and toward other individuals.               The Court finds such conduct

22   has the dangerous potential of injuring innocent third persons.                When an

23   individual discovers that others have been on their property uninvited,

24   there exists a natural desire to learn who the intruder was given that

25   “[t]he mere thought of strangers walking through and visually examining

26   the center of our privacy interest, our home, arouses our passion for


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 1   freedom.”         Frietas, 800 F.2d at 1456.                    And when property is seized, as

 2   it was in this case, it creates the potential for innocent people being

 3   injured because the owners of the property may incorrectly blame and

 4   sanction in some way a person innocent of the seizure.                              The transcripts

 5   of recorded telephone conversations demonstrate that the Riveras had

 6   focused on the brother of Ms. Espinoza exposing him to danger of injury,

 7   reinforcing the necessity for strict compliance with the statute and with

 8   the procedures this Court now requires. Exclusion is the proper remedy

 9   to deter this conduct. Compliance with the procedures the Court has

10   imposed insures compliance with the Fourth Amendment and with the Patriot

11   Act.

12           Accordingly,           IT     IS    HEREBY        ORDERED:        Government’s    Motion   to

13   Reconsider Suppression of Evidence (Ct. Rec. 723) is DENIED.

14           IT IS SO ORDERED. The District Court Executive is directed to enter

15   this order and to provide copies to all counsel.

16           DATED this 23rd day of December, 2005.

17

18                                              S/Edward F. Shea

19                                              EDWARD F. SHEA
                                         United States District Judge
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